Case 1:18-cr-20501-CMA Document 105 Entered on FLSD Docket 12/10/2018 Page 1 of 6
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                                   Page 1 of 6




                                                   United States District Court
                                                               Southern District of Florida
                                                                      MIAMI DIVISION

  UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE

  v.                                                                         Case Number - 1:18-20501-CR-ALTONAGA-3

  ESTHER AGUILERA ESCALONA
                                                                             USM Number: 18787-104

                                                                             Counsel for Defendant: Joseph Abraham Chambrot
                                                                             Counsel for the United States: John Gonsoulin for Miesha Shonta Darrough
                                                                             Court Reporter: Stephanie McCarn
  ___________________________________



  The defendant pled guilty to Count 1 of the Indictment.
  The defendant is adjudicated guilty of the following offense:

           TITLE/SECTION                                      NATURE OF
              NUMBER                                           OFFENSE             OFFENSE ENDED                               COUNT

    18 U.S.C. § 1349                               Conspiracy to Commit               December 2017                                 1
                                                   Health Care Fraud

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

  Any remaining counts are dismissed on the motion of the United States.

  It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
  If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material changes in
  economic circumstances.

                                                                                       Date of Imposition of Sentence:
                                                                                       December 10, 2018



                                                                                       ________________________________
                                                                                       CECILIA M. ALTONAGA
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       December 10, 2018
Case 1:18-cr-20501-CMA Document 105 Entered on FLSD Docket 12/10/2018 Page 2 of 6
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                       Page 2 of 6




  DEFENDANT: ESTHER AGUILERA ESCALONA
  CASE NUMBER: 1:18-20501-CR-ALTONAGA-3

                                                              IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  term of 6 months.


  The Defendant shall surrender to the United States Marshal for this district on December 10, 2018.




                                                                RETURN

  I have executed this judgment as follows:




  Defendant delivered on ____________________ to _________________________________________________

  at _________________________________________________________, with a certified copy of this judgment.


                                                                             __________________________________
                                                                                      UNITED STATES MARSHAL


                                                                         By:__________________________________
                                                                                             Deputy U.S. Marshal
Case 1:18-cr-20501-CMA Document 105 Entered on FLSD Docket 12/10/2018 Page 3 of 6
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                                      Page 3 of 6




  DEFENDANT: ESTHER AGUILERA ESCALONA
  CASE NUMBER: 1:18-20501-CR-ALTONAGA-3

                                                              SUPERVISED RELEASE

               Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

            The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
  release from the custody of the Bureau of Prisons.

               The defendant shall not commit another federal, state or local crime.

            The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
  use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
  at least two periodic drug tests thereafter, as determined by the court.

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

               The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
  accordance with the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as any
  additional conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

  1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
  2.           The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen days of
               each month;
  3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4.           The defendant shall support his or her dependents and meet other family responsibilities;
  5.           The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
  6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
  7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9.           The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
               felony, unless granted permission to do so by the probation officer;
  10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view by the probation officer;
  11.          The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
               officer;
  12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
               permission of the court; and
  13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
               record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
               defendant’s compliance with such notification requirement.
Case 1:18-cr-20501-CMA Document 105 Entered on FLSD Docket 12/10/2018 Page 4 of 6
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                  Page 4 of 6




  DEFENDANT: ESTHER AGUILERA ESCALONA
  CASE NUMBER: 1:18-20501-CR-ALTONAGA-3

                                                    SPECIAL CONDITIONS OF SUPERVISION

               The defendant shall also comply with the following additional conditions of supervised release:

  Surrendering to Immigration for Removal After Imprisonment - At the completion of the defendant’s term of
  imprisonment, the defendant shall be surrendered to the custody of the U.S. Immigration and Customs Enforcement for
  removal proceedings consistent with the Immigration and Nationality Act. If removed, the defendant shall not reenter the
  United States without the prior written permission of the Undersecretary for Border and Transportation Security. The term
  of supervised release shall be non-reporting while the defendant is residing outside the United States. If the defendant
  reenters the United States within the term of supervised release, the defendant is to report to the nearest U.S. Probation Office
  within 72 hours of the defendant’s arrival.

  Community Service - For each week the defendant is employed, the defendant shall perform 10 hours of community service
  as monitored by the U.S. Probation Officer.

  Employment Requirement - The defendant shall maintain full-time, legitimate employment and not be unemployed for a
  term of more than 30 days unless excused for schooling, training or other acceptable reasons. Further, the defendant shall
  provide documentation including, but not limited to pay stubs, contractual agreements, W-2 Wage and Earnings Statements,
  and other documentation requested by the U.S. Probation Officer.

  Financial Disclosure Requirement - The defendant shall provide complete access to financial information, including
  disclosure of all business and personal finances, to the U.S. Probation Officer.

  Health Care Business Restriction - The defendant shall not own, directly or indirectly, or be employed, directly or
  indirectly, in any health care business or service, which submits claims to any private or government insurance company,
  without the Court’s approval.

  Home Detention with Electronic Monitoring - The defendant shall participate in the Home Detention Electronic
  Monitoring Program for a period of six (6) months. During this time, the defendant shall remain at her place of residence
  except for employment and other activities approved in advance, and provide the U.S. Probation Officer with requested
  documentation. The defendant shall maintain a telephone at her place of residence without ‘call forwarding’, ‘call waiting’,
  a modem, ‘caller ID’, or ‘call back/call block’ services for the above period. The defendant shall wear an electronic
  monitoring device and follow the electronic monitoring procedures as instructed by the U.S. Probation Officer. The
  defendant shall pay for the electronic monitoring equipment at the prevailing rate or in accordance with ability to pay.

  No New Debt Restriction - The defendant shall not apply for, solicit or incur any further debt, included but not limited to
  loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or through any corporate entity,
  without first obtaining permission from the United States Probation Officer.

  Travel - If not removed, the defendant is not permitted to travel outside of the Southern District of Florida unless restitution
  is paid in full.

  Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution, fines, or special
  assessments, the defendant shall notify the probation officer of any material change in the defendant’s economic
  circumstances that might affect the defendant’s ability to pay.
Case 1:18-cr-20501-CMA Document 105 Entered on FLSD Docket 12/10/2018 Page 5 of 6
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                                      Page 5 of 6




  DEFENDANT: ESTHER AGUILERA ESCALONA
  CASE NUMBER: 1:18-20501-CR-ALTONAGA-3

                                                         CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
  Payments sheet.

                   Total Assessment                                          Total Fine                               Total Restitution

                           $100.00                                               0                                        $47,427.88

  Restitution with Imprisonment -

           It is further ordered that the defendant shall pay restitution in the amount of $47,427.88. During the period of
  incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison Industries (UNICOR)
  job, then the defendant must pay 50% of wages earned toward the financial obligations imposed by this Judgment in a
  Criminal Case; (2) if the defendant does not work in a UNICOR job, then the defendant must pay a minimum of $50.00 per
  quarter toward the financial obligations imposed in this order.

           Upon release of incarceration, the defendant shall pay restitution at the rate of 15% of monthly gross earnings, until
  such time as the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation
  Office and U.S. Attorney’s Office shall monitor the payment of restitution and report to the court any material change in the
  defendant’s ability to pay. These payments do not preclude the government from using other assets or income of the
  defendant to satisfy the restitution obligations.

               The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
  specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all
  nonfederal victims must be paid before the United States is paid.

                                                                                                                              Priority Order
                                                              Total Amount                 Amount of                          or Percentage
             Name of Payee                                       of Loss              Restitution Ordered                      of Payment

    TO BE PROVIDED BY                                          $47,427.88                 $47,427.88
    THE UNITED STATES
    PROBATION OFFICE

  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
Case 1:18-cr-20501-CMA Document 105 Entered on FLSD Docket 12/10/2018 Page 6 of 6
  USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                              Page 6 of 6




  DEFENDANT: ESTHER AGUILERA ESCALONA
  CASE NUMBER: 1:18-20501-CR-ALTONAGA-3

                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

                 A. Lump sum payment of $100.00 due immediately.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
  penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
  Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                              U.S. CLERK’S OFFICE
                              ATTN: FINANCIAL SECTION
                              400 NORTH MIAMI AVENUE, ROOM 8N09
                              MIAMI, FLORIDA 33128-7716

  The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
  U.S. Attorney’s Office are responsible for the enforcement of this order.



               The defendant shall forfeit the defendant’s interest in the following property to the United States:

                             Forfeiture of the defendant’s right, title and interest in certain property ($47,427.88)
                             is hereby ordered consistent with the plea agreement. The United States shall
                             submit a proposed order of forfeiture within three days of this proceeding.




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
  principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
  costs.
